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				IN RE AMENDMENT OF RULE SEVEN (B) OF RULES GOVERNING ADMISSION TO PRACTICE OF LAW2016 OK 2Case Number: SCBD-6350Decided: 01/11/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 2, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

In re: Amendment of Rule Seven (b) of the Rules Governing Admission to the Practice of Law, 5 O.S.2011, ch. 1, app. 5.
ORDER
¶1 Rule Seven (b) of the Rules Governing Admission to the Practice of Law in the State of Oklahoma is hereby amended as shown on the attached document, effective immediately. The Rule as amended is also attached. 
¶2 The amended rule shall be codified as Rule Seven of the Rules Governing Admission to the Practice of Law in the State of Oklahoma, 5 O.S. Supp. 2015, Ch. 1, App. 5. 
DONE BY ORDER OF THE SUPREME COURT this 11th day of January, 2016.
/S/CHIEF JUSTICE
¶3 ALL JUSTICES CONCUR.

RULE SEVEN
Fees
The following non-refundable fees shall be paid to the Board of Bar Examiners at the time of filing of the application:
(a) Registration:
Regular . . . . . . . . . . . . $125
Nunc Pro Tunc . . . . . . . $500
(b) By each applicant for admission upon motion: the sum of $1,500 $2,000.
(c) By each applicant for admission by examination under Rule Four, §1: 
FEBRUARY BAR EXAM
Application filed on or before: 
1 September . . . . .$1,000
1 October . . . . . . .$1,050
1 November . . . . .$1,150
JULY BAR EXAM
Application filed on or before:
1 February . . . . . .$1,000
1 March . . . . . . . .$1,050
1 April . . . . . . . . .$1,150
(d) By each applicant for a Special Temporary Permit under Rule Two, §5: the sum of $750.
(e) By each applicant for admission by a Special Temporary Permit under Rule Two, §6: 
the sum of $100. 
(f) For each applicant for a Special Temporary Permit under Rule Two, §7, there will not
be any fee charged to the applicant.
(g) By each applicant for a Temporary Permit under Rule Nine: $150.
(h) By each applicant for admission by examination other than those under subparagraph (c) hereof:
FEBRUARY BAR EXAM
Application filed on or before:
1 September . . . . . $300 
1 October . . . . . . $350 
1 November . . . . . $450 
JULY BAR EXAM
Application filed on or before:
1 February . . . . . . $300 
1 March . . . . . . . $350 
1 April . . . . . . . . $450 

RULE SEVEN
Fees
The following non-refundable fees shall be paid to the Board of Bar Examiners at the time of filing of the application:
(a) Registration:
Regular . . . . . . . . . . . . $125
Nunc Pro Tunc . . . . . . . $500
(b) By each applicant for admission upon motion: the sum of $2,000.
(c) By each applicant for admission by examination under Rule Four, §1: 
FEBRUARY BAR EXAM
Application filed on or before: 
1 September . . . . .$1,000
1 October . . . . . . .$1,050
1 November . . . . .$1,150
JULY BAR EXAM
Application filed on or before:
1 February . . . . . .$1,000
1 March . . . . . . . .$1,050
1 April . . . . . . . . .$1,150
(d) By each applicant for a Special Temporary Permit under Rule Two, §5: the sum of $750.
(e) By each applicant for admission by a Special Temporary Permit under Rule Two, §6: 
the sum of $100. 
(f) For each applicant for a Special Temporary Permit under Rule Two, §7, there will not
be any fee charged to the applicant.
(g) By each applicant for a Temporary Permit under Rule Nine: $150.
(h) By each applicant for admission by examination other than those under subparagraph (c) hereof:
FEBRUARY BAR EXAM
Application filed on or before:
1 September . . . . . $300 
1 October . . . . . . $350 
1 November . . . . . $450 
JULY BAR EXAM
Application filed on or before:
1 February . . . . . . $300 
1 March . . . . . . . $350 
1 April . . . . . . . . $450 





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